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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,
v.                                                       Case No. 2:17-cr-22
                                                         HON. PAUL L. MALONEY
JESSICA LYNN TOBIAS,

                      Defendant.
_______________________________/

                                   ORDER OF DETENTION

         Defendant appeared before the undersigned on August 1, 2017, for an initial

appearance and arraignment on the Indictment charging her with one count of

Conspiracy to Distribute and Possess with Intent to Distribute Heroin.

         Defendant shall be detained and undergo physical health, mental health and

substance abuse assessments, which will be arranged by pretrial services. Defendant

may request a detention hearing at any time.

         Defendant shall be detained pending further proceedings.

         IT IS SO ORDERED.

                                             /s/ Timothy P. Greeley
                                           TIMOTHY P. GREELEY
                                           UNITED STATES MAGISTRATE JUDGE
Dated: August 1, 2017
